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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
LUIGI GIROTTO                                                          :
                                                                       :
                                    Plaintiff,                         :
                                                                       :     20-CV-2243 (JPC)
                  -v-                                                  :
                                                                       :   ORDER OF DISMISSAL
STRIP HOUSE RESTAURANT NY, LLC, AUGUSTO :
11 EAST 12TH STREET LLC, and ANGELA 11 EAST :
12TH STREET LLC                                                        :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        The Court has been informed that the parties have reached a settlement in principle in this case.

Accordingly, it is hereby ORDERED that this action is DISMISSED without costs and without prejudice

to restoring the action to the Court’s calendar, provided the application to restore the action is made within

thirty days of this Order in the event the settlement agreement is not completed and executed. Any such

application filed after thirty days from the date of this Order may be denied solely on that basis. If the

parties wish for the Court to retain jurisdiction for the purposes of enforcing any settlement agreement,

they must submit the settlement agreement to the Court by the deadline to reopen to be “so ordered” by

the Court. Pursuant to 3.G of the Court’s Individual Rules and Practices for Civil Cases, unless the Court

orders otherwise, the Court will not retain jurisdiction to enforce a settlement agreement unless it is made

part of the public record.

        Any pending motions are moot. All conferences are canceled. The Clerk of Court is respectfully

directed to close the case.

        SO ORDERED.

Dated: December 29, 2020                                   __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
